             Case 2:08-cr-00427-MCE Document 1037 Filed 08/07/18 Page 1 of 2


 1 McGREGOR W. SCOTT
   United States Attorney
 2 PHILIP A. FERRARI
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5
 6 Attorneys for Plaintiff
   United States of America
 7
 8
 9                              IN THE UNITED STATES DISTRICT COURT

10                                 EASTERN DISTRICT OF CALIFORNIA

11
12 UNITED STATES OF AMERICA,                            CASE NO. CR S 08-0427 MCE

13                                Plaintiff,            MOTION TO DISMISS;
                                                        ORDER
14                         v.

15 SOL TEITELBAUM,
16                               Defendant.

17
18          A superseding indictment was filed in this matter on May 20, 2010, charging eleven defendants
19 with a variety of crimes relating to a conspiracy to commit health care fraud. (Docket, # 166.)
20 Defendant Teitelbaum was charged with conspiring to commit health care fraud in violation of 18
21 U.S.C. § 1349 (Count One), and with committing individual acts in furtherance of a scheme to commit
22 health care fraud in violation of 18 U.S.C. § 1347 (Counts Two, Six, Seven, Eight, Nine, Eleven, and
23 Fourteen).1 (Id.) At present, the criminal charges against each of defendant Teitelbaum’s co-
24 defendants in the above-referenced matter have been resolved.
25          Following the return of the superseding indictment, an arrest warrant was requested to issue for
26 defendant Teitelbaum. (Docket, # 167-1 at 6). In the more than eight years that have passed since the
27
            1
28           Defendant Teitelbaum was not charged in the original indictment returned in this case.
     (Docket, # 13.)
       MOTION TO DISMISS                              1
30
            Case 2:08-cr-00427-MCE Document 1037 Filed 08/07/18 Page 2 of 2


 1 issuance of that warrant, law enforcement has been unable to located defendant Teitelbaum, and is
 2 aware of information indicating the defendant has remained outside the United States during this period.

 3 There is no current information indicating a likelihood that he will be taken into custody. It should be
 4 noted that the defendant is believed to be 90 years of age.
 5          Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, plaintiff United States of

 6 America seeks the leave of this Honorable Court to dismiss the charges against defendant Teitelbaum in
 7 the superseding indictment without prejudice. This motion is based upon the passage of time,
 8 limitations of government resources, and the lack of any indication that the defendant will soon be
 9 located. The United States also respectfully requests that the arrest warrant be recalled and this case be
10 closed on the Court’s docket.
11
12   Dated: August 2, 2018                                   McGREGOR W. SCOTT
                                                             United States Attorney
13
14                                                           /s/ Philip A. Ferrari
                                                             PHILIP A. FERRARI
15                                                           Assistant United States Attorney
16
17                                                     ORDER
18          The United States’ motion to dismiss is GRANTED and as to defendant Teitelbaum Counts One
19 Two, Six, Seven, Eight, Nine, Eleven, and Fourteen of the Superseding Indictment (Docket, # 166) are
20 ordered DISMISSED WITHOUT PREJUDICE. The arrest warrant is recalled and Case CR S 08-0427
21 MCE shall be closed on the Court’s docket.
22          IT IS SO ORDERED.
23 Dated: August 6, 2018
24
25
26
27
28

      MOTION TO DISMISS                                  2
30
